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 8                         UNITED STATES DISTRICT COURT

 9                       NORTHERN DISTRICT OF CALIFORNIA

10                             SAN FRANCISCO DIVISION

11

12   IN RE: CAPACITORS ANTITRUST               MASTER FILE NO. 14-cv-03264-JD
     LITIGATION
13
     _______________________________________
14                                             [PROPOSED] ORDER APPROVING
     THIS DOCUMENT RELATES TO:                 MOTION TO APPROVE PROGRAM TO
15                                             PROVIDE CLASS NOTICE AND TO SET
     ALL INDIRECT PURCHASER ACTIONS            SCHEDULE FOR FINAL APPROVAL
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28 [PROPOSED] ORDER APPROVING MOTION TO APPROVE PROGRAM TO
   PROVIDE CLASS NOTICE AND TO SET SCHEDULE FOR FINAL APPROVAL
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 1          On October 6, 2016 Indirect Purchaser Plaintiffs (“IPPs”) filed a Motion to Approve
 2   Program to Provide Class Notice and to Set Schedule for Final Approval of proposed settlements
 3
     with NEC TOKIN, Nitsuko, and Okaya. (Dkt. No. 1306). On October 14, 2016, the Court held a
 4
     preliminary approval hearing and gave the parties comments concerning the motion to approve
 5
     certain settlements. On October 17, 2016, the Court issued a minute order reflecting that hearing
 6

 7   (Dkt. No. 1348). On November __, IPPs submitted a supplemental memorandum of law (Dkt. No.

 8   __) and the supplemental declarations of Steven N. Williams (Dkt. No. __) and Linda V. Young

 9   (Dkt. No. __). The Court, having reviewed all filings concerning this motion, the pleadings and
10   other papers on file in this action, and the statements of counsel and the parties, hereby finds that
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     the motion should be GRANTED.
12
            NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
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            1. The Court approves the form of the Short-Form Notice attached hereto as Exhibit A
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15              (“Short-Form Notice”). The Court also approves the form of the Long-Form Notice

16              attached hereto as Exhibit B (“Long-Form Notice”). The Court finds that taken

17              together, mailing the Short-Form Notice by U.S. Mail to those addresses of class
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                members that are available to IPP counsel, together with publication of the Short-Form
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                Notice, and internet posting of the Long-Form Notice are: (i) the best notice practicable;
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                (ii) reasonably calculated to, under the circumstances, apprise members of the
21
                settlement classes of the proposed settlements and of their right to object or to exclude
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23              themselves as provided in the settlement agreements; (iii) reasonable and constitute due,

24              adequate and sufficient notice to all persons entitled to receive notice; and (iv) meet all
25              applicable requirements of due process and any other applicable requirements under
26
                federal or state law.
27
            2. IPPs’ notice provider shall provide notice of the class settlement. The notice provider
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     [PROPOSED] ORDER APPROVING MOTION TO APPROVE PROGRAM TO                                          1
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 1           shall provide direct notice of the settlement to all members of the settlement class for

 2           whom they can reasonably obtain email addresses on or before January 16, 2017.

 3        3. IPPs’ notice provider shall publish the Short-Form Notice in Publication of notice in

 4           general-market publications and trade magazines. Published notice will run in The Wall

 5           Street Journal, Electronic Design, and Nuts and Volts.

 6        4. IPPs’ notice provider shall provide email notice through email “blasts”. An email blast

 7           will be sent to opt-in subscribers of the following publications:

 8               a. Penton Publications (including the websites Electronicdesign.com,

 9                     machinedesign.com, sourceesb.com, mwrf.com, powerelectronics.com, and

10                     HydraulicsPneumatics.com.).

11               b. EE Times.

12        5. IPPs’ notice provider shall cause banner ads to be placed on the following websites:

13               c. Electronicdesign.com

14               d. Machinedesign.com

15               e. SourceESB.com

16               f. Mwrf.com (Microwaves and RF)

17               g. Powerelectronics.com

18               h. HydraulicsPneumatics.com

19               i. Nutsvolts.com

20               j. Passivecomponentmagazine.com

21               k. Eetimes.com

22               l. Ebonline.com

23               All     banner   ads    will   include    an    embedded    link   to   the   website

24               www.capacitorsindirectcase.com. The banner ads will include generic images of

25               capacitors to increase the visibility of the ads.

26        6. IPPs’ notice provider shall cause banner ads to be run in the e-newsletter Nuts and

27           Volts, which is mailed to approximately 40,000 subscribers.

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     [PROPOSED] ORDER APPROVING MOTION TO APPROVE PROGRAM TO                                   2
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 1        7. IPPs’ notice provider shall publish notice in selected trade e-newsletters.

 2        8. IPPs’ notice provider shall implement earned media, including dissemination of a news

 3           release via Business Wire which will be distributed to more than 10,000 newsrooms,

 4           including print, broadcast and digital media across the United States.

 5        9. Publication notice shall commence on or before January 16, 2017, and be completed on
 6           or before February 25, 2017. The notice provider shall also cause a copy of the class
 7
             notices and Settlement Agreements to be posted on the internet website
 8
             www.capacitorsindirectcase.com on or before January 16, 2017.
 9
          10. Each member of the settlement classes shall have the right to be excluded from the
10

11           settlement classes by mailing a request for exclusion to the claims administrator to be

12           postmarked no later than March 17, 2017. Requests for exclusion must be in writing

13           and set forth the name and address of the person or entity who wishes to be excluded, as
14           well as any trade name or business name and address used by such person or entity, and
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             must be signed by the class member seeking exclusion. No later than March 24, 2017,
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             IPP Class Counsel shall file with the Court a list of all persons or entities who have
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             timely requested exclusion from the settlement classes as provided in the Settlement
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19           Agreement.

20        11. Any member of the settlement classes who does not properly and timely request

21           exclusion from the settlement classes as provided above shall, upon final approval of
22
             the settlement, be bound by the terms and provisions of the settlement so approved,
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             including but not limited to the releases, waivers, and covenants set forth in the
24
             Settlement Agreements, whether or not such person or entity objected to the Settlement
25
             Agreements and whether or not such person or entity makes a claim upon the settlement
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27           funds.

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     [PROPOSED] ORDER APPROVING MOTION TO APPROVE PROGRAM TO                                      3
     PROVIDE CLASS NOTICE AND TO SET SCHEDULE FOR FINAL APPROVAL
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 1        12. Each member of the settlement classes who has not timely excluded itself from the
 2           settlement shall have the right to object to (1) the settlement and/or (2) the plan of
 3
             allocation by filing written objections with the Court no later than March 17, 2017.
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             Failure to timely file written objections will preclude a class member from objecting to
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             any or all of the settlement.
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 7        13. Each member of the settlement classes as provided above shall have the right to appear

 8           at the Fairness Hearing by filing a Notice of Intention to Appear no later than March 17,

 9           2017.
10        14. The Court will conduct a Fairness Hearing on __________________________. The
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             Fairness Hearing will be conducted to determine the following:
12
                 a. Whether the proposed settlements are fair, reasonable, and adequate and should
13
                     be granted final approval;
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15               b. Whether final judgment should be entered dismissing with prejudice the claims

16                   of the settlement classes against NEC TOKIN, Nitsuko, and Okaya; and

17               c. Such other matters as the Court may deem appropriate.
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          15. Each member of the settlement classes shall retain all rights and causes of action with
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             respect to claims against the remaining defendants other than NEC Tokin, Nitsuko and
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             Okaya regardless of whether such member of the settlement classes decides to remain
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             in the settlement classes or to exclude itself from the settlement classes.
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23        16. All briefs, memoranda and papers in support of final approval of the settlement shall be

24           filed no later than April 11, 2017.
25        17. IPPs’ Class Counsel and their designees are authorized to expend funds from the
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             escrow accounts to pay taxes, tax expenses, notice, and administration costs as set forth
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             in the Settlement Agreements.
28
     [PROPOSED] ORDER APPROVING MOTION TO APPROVE PROGRAM TO                                      4
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 1         This order terminates Docket Number ____.
 2         IT IS SO ORDERED.
 3

 4   Dated: ________________
 5                                           __________________________________
 6                                           Hon. James Donato
                                             United States District Judge
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     [PROPOSED] ORDER APPROVING MOTION TO APPROVE PROGRAM TO                      5
     PROVIDE CLASS NOTICE AND TO SET SCHEDULE FOR FINAL APPROVAL
